      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 1 of 28




                                  No. 22-35305


                                     IN THE

               United States Court of Appeals
                         FOR THE NINTH CIRCUIT

                             KIM CARTER MARTINEZ,
                                              Plaintiff-Appellee,

                                        V.

                         ZOOMINFO TECHNOLOGIES INC.,
                                              Defendant-Appellant.

Appeal from the United States District Court for the Western District of Washington
        District Judge Marsha J. Pechman, No. 3:21-cv-05725-MJP-BNW


            PETITION FOR PANEL REHEARING FOR
     DEFENDANT-APPELLANT ZOOMINFO TECHNOLOGIES INC.


   Jeffrey A. Lamken                         Shon Morgan
   Lucas M. Walker                             Counsel of Record
   Lauren M. Weinstein                       Daniel C. Posner
   Jennifer E. Fischell                      John W. Baumann
   MOLOLAMKEN LLP                            QUINN EMANUEL URQUHART &
   The Watergate, Suite 500                    SULLIVAN, LLP
   600 New Hampshire Avenue, N.W.            865 S. Figueroa Street, 10th Floor
   Washington, D.C. 20037                    Los Angeles, CA 90017
   (202) 556-2000 (telephone)                (213) 443-3000 (telephone)
   (202) 556-2001 (facsimile)                shonmorgan@quinnemanuel.com

                     Counsel for ZoomInfo Technologies Inc.
                   (Additional Counsel Listed on Inside Cover)
     Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 2 of 28




Eugene A. Sokoloff                      Cristina Henriquez
Jordan A. Rice                          QUINN EMANUEL URQUHART &
Kenneth E. Notter III                     SULLIVAN, LLP
MOLOLAMKEN LLP                          555 Twin Dolphin Drive, 5th Floor
300 N. LaSalle Street, Suite 5350       Redwood Shores, CA 94065
Chicago, IL 60654                       (650) 801-5000 (telephone)
(312) 450-6700 (telephone)
(312) 450-6701 (facsimile)

Alexandra C. Eynon
MOLOLAMKEN LLP
430 Park Avenue
New York, NY 10022
(212) 607-8160 (telephone)
(212) 607-8161 (facsimile)


                   Counsel for ZoomInfo Technologies Inc.
         Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 3 of 28




                                       TABLE OF CONTENTS

                                                                                                              Page

INTRODUCTION .....................................................................................................1

BACKGROUND .......................................................................................................2

I.      Statutory Background ......................................................................................2

II.     Plaintiff Sues for Personal Relief Based on ZoomInfo’s Directory of
        Accurate Professional Contact Information ....................................................3

III.    The District-Court Decision ............................................................................5

IV.     This Court’s Decision ......................................................................................5

REASONS FOR GRANTING REHEARING ..........................................................7

I.      The Panel Misconstrued § 425.17(b) To Exempt Virtually All Class
        Actions from California’s Anti-SLAPP Protections .......................................7

        A.       Section 425.17(b) Does Not Apply Where a Plaintiff Seeks
                 Personal or Individualized Relief ..........................................................9

        B.       The Conflation of Private Interests with the Public Interest
                 Exacerbates the Error ..........................................................................13

II.     Alternatively, the Court Should Certify the Question of § 425.17(b)’s
        Construction to the California Supreme Court ..............................................16

CONCLUSION ........................................................................................................20




                                                          i
         Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 4 of 28




                                    TABLE OF AUTHORITIES

                                                                                                         Page(s)

                                                     CASES

Beeman v. Anthem Prescription Mgmt., LLC,
   689 F.3d 1002 (9th Cir. 2012) (en banc) ............................................................ 17

Blanchard v. DIRECTV, Inc.,
   123 Cal. App. 4th 903 (2004) .............................................................9, 10, 14, 19

Charles v. City of Los Angeles,
  697 F.3d 1146 (9th Cir. 2012) .......................................................................... 3, 4

Club Members for an Honest Election v. Sierra Club,
   45 Cal. 4th 309 (2008) .................................................................................passim

Dex Media W., Inc. v. City of Seattle,
  696 F.3d 952 (9th Cir. 2012) ..........................................................................3, 15

French Laundry Partners, LP v. Hartford Fire Ins. Co.,
   58 F.4th 1305 (9th Cir. 2023) ............................................................................. 17

Frlekin v. Apple Inc.,
   979 F.3d 639 (9th Cir. 2020) .............................................................................. 18

Guglielmi v. Spelling-Goldberg Productions,
  25 Cal. 3d 860 (1979) ...................................................................................15, 18

Herring Networks, Inc. v. Maddow,
  8 F.4th 1148 (9th Cir. 2021) ................................................................................. 2

Holbrook v. City of Santa Monica,
  144 Cal. App. 4th 1242 (2006) ........................................................................... 16

Ingels v. Westwood One Broad. Servs., Inc.,
   129 Cal. App. 4th 1050 (2005) .................................................................9, 10, 11

Kasky v. Nike, Inc.,
  27 Cal. 4th 939 (2002) ........................................................................................ 14

Kirby v. Sega of Am., Inc.,
   144 Cal. App. 4th 47 (2006) ............................................................................... 15

                                                         ii
         Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 5 of 28




Kremen v. Cohen,
   325 F.3d 1035 (9th Cir. 2003) ................................................................16, 17, 19

Lombardo v. Warner,
  391 F.3d 1008 (9th Cir. 2004) (en banc) ............................................................ 17

Muniz v. UPS, Inc.,
  738 F.3d 214 (9th Cir. 2013) ................................................................................ 9

Murray v. BEJ Mins., LLC,
  924 F.3d 1070 (9th Cir. 2019) (en banc) ......................................................17, 18

N. Cal. Carpenters Reg’l Council v. Warmington Hercules Assocs.,
   124 Cal. App. 4th 296 (2004) ............................................................................... 9

Parents Involved in Cmty. Schs. v. Seattle Sch. Dist., No. 1,
  294 F.3d 1085 (9th Cir. 2002) ............................................................................ 17

People ex rel. Strathmann v. Acacia Research Corp.,
  210 Cal. App. 4th 487 (2012) ...................................................................6, 11, 12

Sullivan v. Oracle Corp.,
   557 F.3d 979 (9th Cir. 2009) .............................................................................. 17

Thayer v. Kabateck Brown Kellner LLP,
  207 Cal. App. 4th 141 (2012) ............................................................................. 13

Torres v. Goodyear Tire & Rubber Co.,
   867 F.2d 1234 (9th Cir. 1989) ............................................................................ 17

Tourgemann v. Nelson & Kennard,
  222 Cal. App. 4th 1447 (2014) ............................................................................. 9

Vazquez v. Jan-Pro Franchising Int’l, Inc.,
  939 F.3d 1045 (9th Cir. 2019) ...................................................................... 17, 19

Ward v. United Airlines, Inc.,
  986 F.3d 1234 (9th Cir. 2021) ............................................................................ 18

Zacchini v. Scripps-Howard Broad. Co.,
   433 U.S. 562 (1977) ............................................................................................ 15




                                                         iii
          Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 6 of 28




                                     CONSTITUTIONAL PROVISIONS

U.S. Const. amend. I .........................................................................................passim

                                            STATUTES AND RULES

28 U.S.C. § 1332(d) .................................................................................................. 19

Cal. Bus. & Prof. Code § 17200 ............................................................................... 14

Cal. Civ. Code § 52.1 ............................................................................................... 14

Cal. Civ. Code § 3344 ................................................................................................ 4

Cal. Civ. Proc. Code § 425.16 .................................................................................... 5

Cal. Civ. Proc. Code § 425.16(a)..................................................................2, 3, 7, 18

Cal. Civ. Proc. Code § 425.17(b) ......................................................................passim

Cal. Civ. Proc. Code § 425.17(b)(1) ..................................................................passim

Cal. Civ. Proc. Code § 425.17(b)(2) ..................................................................passim

Cal. Civ. Proc. Code § 425.17(b)(3) ....................................................................... 3, 5

Cal. Civ. Proc. Code § 425.17(e)............................................................................ 5, 8

Cal. Rule of Court 8.548(a)...................................................................................... 17

                                            OTHER AUTHORITIES

Judicial Council of California, 2023 Court Statistics Report (2023),
   https://www.courts.ca.gov/documents/2023-Court-
   Statistics-Report.pdf ........................................................................................... 19

Sen. Comm. on Judiciary, Analysis of Sen. Bill No. 515
   (2003-2004 Reg. Sess.) ....................................................................................... 10




                                                           iv
       Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 7 of 28




                                  INTRODUCTION

      California’s anti-SLAPP statute seeks to protect defendants’ First Amend-

ment rights and conduct in furtherance of those rights. Its protections are to be

construed broadly, and exceptions narrowly.           The panel decision nonetheless

interpreted one narrow exception—for suits “brought solely in the public interest,”

Cal. Civ. Proc. Code § 425.17(b)—so expansively as to exempt virtually all class

actions from California’s anti-SLAPP protections. No matter how grievously the

suit intrudes on free-speech rights, or how much the putative class representative

stands to gain personally, defendants are now denied anti-SLAPP protections

whenever the action professes to seek relief on behalf of a class.

      That result defies the California Supreme Court’s direction that § 425.17(b) is

inapplicable where, as here, “a litigant seek[s] ‘any’ personal ” or “individualized

relief.” Club Members for an Honest Election v. Sierra Club, 45 Cal. 4th 309, 317,

320 (2008) (emphasis added). And it erroneously deems suits asserting private

interests to be suits brought solely in the public interest.

      The provision the panel invoked, moreover, was never mentioned by the

district court. It was substantively addressed in a single sentence of plaintiff ’s

appellate brief. And, in the panel’s view, “no California Supreme Court case

answers” whether § 425.17(b) applies to class actions like plaintiff ’s. Op.13. Given

the importance of the issue, rehearing is warranted. At a minimum, this Court should
       Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 8 of 28




give California’s Supreme Court an opportunity to decide the issue by certifying the

following question:

      Whether § 425.17(b) is inapplicable where a plaintiff (a) seeks personal
      or individualized relief, such as actual damages for mental harm or
      compensation for use of her persona, or (b) seeks to vindicate individu-
      als’ private rights at the expense of the public’s interest in access to
      accurate, factual information.

                                   BACKGROUND

I.    STATUTORY BACKGROUND

      California’s anti-SLAPP statute was enacted to combat lawsuits that “chill the

valid exercise of the constitutional right[ ] of freedom of speech.” § 425.16(a). A

suit must be dismissed if a defendant “ ‘make[s] a prima facie showing that the

plaintiff ’s suit arises from an act in furtherance of the defendant’s constitutional

right to free speech’ ” in connection with issues of public interest, unless the plaintiff

shows a reasonable probability of prevailing on the merits. Herring Networks, Inc.

v. Maddow, 8 F.4th 1148, 1155 (9th Cir. 2021). The anti-SLAPP law’s protections

must be “construed broadly.” § 425.16(a).

      Under § 425.17(b), the anti-SLAPP statute “does not apply to any action

brought solely in the public interest or on behalf of the general public,” where:

      (1)    The plaintiff does not seek any relief greater than or different
             from the relief sought for the general public or a class . . . ; [and]

      (2)    The action, if successful, would enforce an important right
             affecting the public interest, and would confer a significant
             benefit . . . on the general public or a large class of persons.


                                            2
         Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 9 of 28




§ 425.17(b) (emphasis added).1 In contrast to the “broad[ ]” construction given the

law’s protections, § 425.16(a), the “exception” in § 425.17(b) “should be narrowly

construed,” Sierra Club, 45 Cal. 4th at 316 (emphasis added).

         The California Supreme Court has held that § 425.17(b) applies only to suits

brought “exclusively in the public interest.” Sierra Club, 45 Cal. 4th at 317 n.6 (em-

phasis added). It “unambiguous[ly]” “bars a litigant seeking ‘any’ personal ” or

“individualized relief ” from invoking the exception. Id. at 317, 320 (emphasis

added).

II.      PLAINTIFF SUES FOR PERSONAL RELIEF BASED ON ZOOMINFO’S
         DIRECTORY OF ACCURATE PROFESSIONAL CONTACT INFORMATION

         Akin to a technologically advanced version of the white pages, ZoomInfo

provides an online directory of professional contact information. Opening.Br.5. As

this Court has held, “directories” of “businesses and professionals” like ZoomInfo’s

are “entitled to the full protection of the First Amendment.” Dex Media West, Inc.

v. City of Seattle, 696 F.3d 952, 954 (9th Cir. 2012). To “prevent tort actions from

choking the truthful promotion of protected speech,” that protection extends to

“advertisements” for protected works. Charles v. City of Los Angeles, 697 F.3d

1146, 1154-56 (9th Cir. 2012); see Opening.Br.52-59.




1
    Another requirement, § 425.17(b)(3), is not at issue.

                                            3
      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 10 of 28




      Plaintiff Kim Carter Martinez is Political and Legislative Director for

AFSCME, a public-sector union that spends millions on lobbying. Opening.Br.6. If

a user were to search for plaintiff on ZoomInfo, ZoomInfo would provide a preview

profile showing some of her professional contact information, such as AFSCME’s

phone number and address. Id. at 7-9. Plaintiff concedes the information in the

profile is “accurat[e].” ER-157 (¶ 28). She does not contend the information is

private—nor could she, as it is publicly available. Opening.Br.9-10.

      The complaint alleges that a user who accesses plaintiff ’s preview profile may

see links offering access to additional information, like plaintiff ’s unredacted

AFSCME email address. Opening.Br.10. Clicking those links offers access to

ZoomInfo’s full directory, for free or via paid subscription. Id.

      Plaintiff filed a putative class-action complaint asserting misappropriation of

her persona under California’s right-of-publicity statute, Cal. Civ. Code § 3344, and

common law. ER-166-168. Plaintiff nowhere alleges that anyone other than her

attorneys viewed her preview profile, which she could have removed from ZoomInfo

at any time. Opening.Br.10, 12.

      Plaintiff seeks relief “individually” and on behalf of the class. ER-168. Under

§ 3344, plaintiff seeks “ ‘the greater of ’ ” statutory damages or “ ‘actual damages.’ ”

ER-167 (¶¶ 58-60).     Actual damages would cover her alleged “economic and

emotional” harm, including “mental injury.” ER-163, ER-167 (¶¶ 44, 59). She also



                                           4
       Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 11 of 28




seeks “restitution,” disgorgement of “profits,” and a “royalt[y]” for alleged use of

her persona. ER-168-169 (¶¶ F-G).

III.   THE DISTRICT-COURT DECISION

       ZoomInfo moved to strike plaintiff ’s suit under California’s anti-SLAPP law,

Cal. Civ. Proc. Code § 425.16.      The district court denied the motion, finding

§ 425.16’s requirements not satisfied. ER-16-17. It did not discuss § 425.17(b)’s

exception.

IV.    THIS COURT’S DECISION

       The panel affirmed “on the alternative ground” that this suit “falls within

[§ 425.17(b)’s] public-interest exemption.” Op.18.

       A.    Plaintiff ’s appellate brief addressed § 425.17(b)’s applicability in a

single sentence, citing a single federal district-court case. Resp.Br.11. Plaintiff

invoked § 425.17(b) primarily to argue that, under § 425.17(e), the denial of

ZoomInfo’s anti-SLAPP motion was unappealable, Resp.Br.10-11—an argument

the Court rejected, Op.9. Plaintiff ’s suggestion that § 425.17(b) is a “reason to

affirm” was a one-sentence footnote. Resp.Br.11 n.1.

       B.    The panel decision did not address § 425.17(b)’s requirement that an

action be “brought solely in the public interest.” (Emphasis added.) It addressed the

additional requirements in subsections (1)-(3).




                                         5
      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 12 of 28




      With respect to § 425.17(b)(1), the panel found that “no California Supreme

Court case answers the precise question” presented. Op.13. The panel acknowl-

edged the California Supreme Court’s statement in Sierra Club that § 425.17(b) is

inapplicable if a plaintiff seeks “ ‘personal relief.’ ” Id. It did not disagree that

plaintiff sought, for herself, relief requiring an “individualized determination.” Id.

Nevertheless, the panel reasoned that Sierra Club’s “bar on ‘any personal relief ’

prohibits” only “seeking ‘a more narrow advantage for a particular plaintiff.’ ” Id.

(quoting 45 Cal. 4th at 317).

      Invoking a decision neither party cited, People ex rel. Strathmann v. Acacia

Research Corp., 210 Cal. App. 4th 487 (2012), the panel described it as the “most

relevant authority” and “best indication of how the California Supreme Court would

rule.” Op.14. Based on Strathmann, the panel concluded that § 425.17(b)(1) was

satisfied because—even though plaintiff sought relief particular to her—she

ostensibly “ha[d] not requested any additional relief that would not apply to some or

all of the class.” Op.15-16.

      The panel found § 425.17(b)(2) satisfied because plaintiff ’s suit “intersects

with California’s public policy goals.” Op.16. It was enough, the panel concluded,

that California has demonstrated a “public policy commitment to protecting its

citizens’ property and privacy rights” by recognizing a common-law and statutory




                                          6
      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 13 of 28




right of publicity. Id. The panel did not consider that every statutory or common-

law cause of action “intersects” with public-policy goals.

                  REASONS FOR GRANTING REHEARING

      Because California’s anti-SLAPP law provides “broad[ ]” protections against

suits that target free-speech rights, § 425.16(a), the California Supreme Court has

instructed that § 425.17(b)’s “exception” to those protections must be “narrowly

interpreted,” Sierra Club, 45 Cal. 4th at 316. The panel nonetheless gave § 425.17(b)

an extraordinarily broad construction, stretching its narrow exception for suits

brought “solely in the public interest” into one that eliminates California’s anti-

SLAPP protections for virtually all class actions. That holding conflicts with

precedent and the provision’s legislative history. And it threatens devastating conse-

quences for defendants confronting ruinous suits based on their protected speech.

      The panel should grant rehearing and correct its construction of § 425.17(b).

At a minimum, it should certify the question to the California Supreme Court.

California’s anti-SLAPP protections should not be eliminated for such a broad swath

of cases without the State’s highest court weighing in.

I.    THE PANEL MISCONSTRUED § 425.17(b) TO EXEMPT VIRTUALLY ALL
      CLASS ACTIONS FROM CALIFORNIA’S ANTI-SLAPP PROTECTIONS

      Section 425.17(b) exempts a “narrow” category of cases from California’s

“broad” anti-SLAPP protections—suits “brought solely in the public interest.”

Sierra Club, 45 Cal. 4th at 316, 319-20. The panel nonetheless held that the


                                          7
      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 14 of 28




exception applies where a plaintiff “request[s] all relief on behalf of the alleged

class”—even if the plaintiff seeks “individualized” relief for herself—and asserts

claims that “intersect[ ] with California’s public policy goals.” Op.15-16. That

sweeping construction exempts virtually all class actions from California’s anti-

SLAPP protections: Class-action plaintiffs routinely request all relief on behalf of

the alleged class, and every California-law claim intersects with California’s public-

policy goals in some way.

      Countless lawsuits—no matter how chilling of protected speech, or how

lacking in merit—will now evade California’s anti-SLAPP protections.             That

includes cases particularly apt to chill First Amendment freedoms: class actions

seeking to impose enormous liability for speech that offers the public access to

truthful, non-sensitive, factual information. The consequences will be especially

severe because § 425.17(b) does not merely deny defendants anti-SLAPP protec-

tions; it also denies them the right to appeal decisions finding that the exception

applies. § 425.17(e). When trial courts, both state and federal, invoke this Court’s

construction of § 425.17(b) to deny anti-SLAPP protections, those decisions will

escape appellate review—amplifying plaintiffs’ ability to use meritless suits to chill

free speech and coerce settlements. Far from supporting that result, statutory text,

precedent, and legislative history refute it.




                                           8
      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 15 of 28




      A.     Section 425.17(b) Does Not Apply Where a Plaintiff Seeks Personal
             or Individualized Relief

      1.     Section 425.17(b) applies only to actions “brought solely in the public

interest or on behalf of the general public.”      (Emphasis added).      Given that

“limitation[ ],” the California Supreme Court has concluded that “[§ ]425.17(b) is

unambiguous and bars a litigant seeking ‘any’ personal relief from relying on the

section 425.17(b) exception.” Sierra Club, 45 Cal. 4th at 317, 318 (emphasis added).

“If individualized relief is sought,” § 425.17(b) does not apply. Id. at 320 (emphasis

added). That construction by California’s highest court is “binding.” Muniz v. UPS,

Inc., 738 F.3d 214, 219 (9th Cir. 2013).

      California appellate-court decisions confirm that § 425.17(b) is inapplicable

where a plaintiff seeks any personal relief. See Blanchard v. DIRECTV, Inc., 123

Cal. App. 4th 903, 916 (2004) (plaintiff sought accounting and restitution); Ingels v.

Westwood One Broad. Servs., Inc., 129 Cal. App. 4th 1050, 1067 (2005) (plaintiff

sought “damages personal to himself ”). Where courts have found § 425.17(b)

applicable, plaintiffs sought no personal relief. See N. Cal. Carpenters Reg’l

Council v. Warmington Hercules Assocs., 124 Cal. App. 4th 296, 300 (2004)

(plaintiff did not personally seek damages); Tourgemann v. Nelson & Kennard, 222

Cal. App. 4th 1447, 1461 (2014) (plaintiff did not seek damages or restitution).

      Indeed, the California legislature explained that § 425.17(b) is intended for

suits seeking “ ‘enforcement [of public-interest laws] by private attorneys generals,


                                           9
      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 16 of 28




without an injured plaintiff.’ ” Ingels, 129 Cal. App. 4th at 1066 (quoting Sen.

Comm. on Judiciary, Analysis of Sen. Bill No. 515, at 13-14 (2003-2004 Reg. Sess.)

(“Senate Analysis”)) (additional quotation marks omitted). The anti-SLAPP statute

“ ‘already exempt[ed] actions filed by public prosecutors’ ”; § 425.17(b) simply

provides “ ‘parallel protection when people are acting only in the public interest as

private attorneys general, and are not seeking any special relief for themselves.’ ”

Id. (quoting Senate Analysis 13-14) (additional quotation marks omitted; first

emphasis added). Thus, “ ‘not all public interest or class actions [are] automatically

exempt from the anti-SLAPP law.’ ” Blanchard, 123 Cal. App. 4th at 913-14

(quoting Senate Analysis 13).

      2.     Those principles are dispositive here. Plaintiff indisputably seeks “per-

sonal” and “individualized” relief, so her action is not “solely in the public interest.”

Sierra Club, 45 Cal. 4th at 317, 320. Plaintiff seeks “damages for actual harm,”

including alleged “mental injury” that is definitionally unique to her. ER-163 (¶ 44),

ER-168-169 (¶ G). She also seeks “restitution for Plaintiff ” “individually” for the

value allegedly derived from use of her name, and “royalties” for alleged infringe-

ment of her “intellectual property.” ER-168-169. That relief is “personal” to her,

requiring “individualized” assessment of her mental harm and profits or royalties

attributable to use of her name. Far from being an uninjured private attorney general




                                           10
      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 17 of 28




seeking no special relief for herself, Ingels, 129 Cal. App. 4th at 1066, plaintiff

alleges she was injured and seeks uniquely individualized relief.

      3.     The panel observed that, in Sierra Club, “the plaintiff sought certain

relief that would advance solely its members’ own interests,” including an order

giving the plaintiff board seats. Op.13. The panel accordingly construed Sierra

Club as holding only that a plaintiff is barred from invoking § 425.17(b) where it

seeks “relief that applies only to the plaintiff, and not the class.” Op.13-14.

      But Sierra Club’s holding was broader: It held that § 425.17(b) “unambig-

uous[ly] . . . bars a litigant seeking ‘any’ personal relief ” from claiming the excep-

tion. 45 Cal. 4th at 317 (emphasis added). That bar includes seeking “relief that

applies only to the plaintiff, and not the class,” Op.13-14, but it also includes

requests for personal, individualized relief like mental distress. Sierra Club held—

without qualification—that, “[i]f individualized relief is sought,” § 425.17(b) does

not apply. 45 Cal. 4th at 320 (emphasis added).

      Concluding Sierra Club did not “answer[ ] the precise question,” the panel

relied on Strathmann, a California Court of Appeal decision, to conclude that

“seeking individualized relief is permissible” under § 425.17(b). Op.13-14. The

panel cited Strathmann as stating that “[a] claim brought on behalf of the general

public might include some kind of individual relief.” 210 Cal. App. 4th at 501; see

Op.14.



                                          11
       Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 18 of 28




       The cited passage conflicts with Sierra Club’s authoritative construction twice

over. It contradicts Sierra Club’s holding that § 425.17(b) is inapplicable where a

plaintiff seeks “ ‘any’ personal” or “individualized” relief. 45 Cal. 4th at 317, 320.

And Strathmann rested on the mistaken premise that § 425.17(b) applies to suits “ ‘on

behalf of the general public,’ ” even if they are not solely “on behalf of the general

public” or solely “in the public interest.” 210 Cal. App. 4th at 501; § 425.17(b). The

California Supreme Court rejected that construction in Sierra Club, holding that

§ 425.17(b) does not apply unless the action is “exclusively in the public interest.”

45 Cal. 4th at 317 n.6 (emphasis added). Indeed, it held that extending § 425.17(b)’s

exception to suits “on behalf of the general public” but not “solely in the public

interest” would be improper because that “would allow a plaintiff to seek personal

relief .” Id.

       The passage from Strathmann is also dictum. There, the plaintiff did not seek

any “personal relief for the plaintiff ’s personal harm.” 210 Cal. App. 4th at 503.

The plaintiff sought a qui tam bounty, which was “not considered personal relief ”

but instead “analogous to a lawyer’s contingent fee”—which the statute says is not

“ ‘greater or different relief for purposes of [§ 425.17(b)(1)].’ ” Id. at 502-04.

(quoting § 425.17(b)(1)).

       4.       Beyond the fact that plaintiff ’s request for “ ‘any’ personal relief ”

prevents her suit from being “solely in the public interest,” Sierra Club, 45 Cal. 4th



                                           12
      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 19 of 28




at 317, 320, § 425.17(b) still does not apply. Plaintiff seeks relief unique to her—

actual damages for her emotional harm and use of her persona—that not all class

members will recover. She thus seeks relief “greater than”—or at least “different

from”—that sought for the class. § 425.17(b)(1).

      The panel found it sufficient that plaintiff “request[s] all relief on behalf of

the alleged class.” Op.13. But Thayer v. Kabateck Brown Kellner LLP, 207 Cal.

App. 4th 141 (2012) (cited Op.15), held that § 425.17(b) did not apply where a class-

action plaintiff sought individualized relief, including damages for “emotional

distress, and other ‘subjective’ ” items. Id. at 156-57. The panel distinguished

Thayer as resting only on the plaintiff ’s additional request for statutory damages

available only to senior citizens. Op.15 & n.3. If that were correct, Thayer would

have had no reason to mention the request for other “subjective,” individualized

relief. 207 Cal. App. 4th at 156-57. Regardless, plaintiff here necessarily seeks

“greater” or “different” damages than other class members: She requests “actual

damages,” which are available only if her personal damages are greater than $750

statutory damages. ER-167 (¶¶ 58-60).

      B.     The Conflation of Private Interests with the Public Interest
             Exacerbates the Error

      1.     Section 425.17(b), moreover, does not apply unless an action, “if

successful, would enforce an important right affecting the public interest.”

§ 425.17(b)(2) (emphasis added).      The panel found that requirement satisfied


                                         13
      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 20 of 28




because California recognizes a “common-law and statutory” right of publicity,

reflecting a “public policy commitment to protecting its citizens’ property and priva-

cy rights.” Op.16-18. But every statutory or common-law action could likewise be

said to further some California policy—whatever policy motivated adoption of the

statute or common-law rule. That does not mean every such action will “enforce an

important right affecting the public interest.” § 425.17(b)(2) (emphasis added).

      Actions that vindicate individuals’ personal interests, rather than the interests

of the public, fall outside § 425.17(b)(2). In Blanchard, the defendant sent a cease-

and-desist letter to thousands of people. 123 Cal. App. 4th at 909. Plaintiffs filed a

class-action lawsuit on behalf of all recipients, asserting that the letter was “false,

misleading, or deceptive” in violation of California’s civil-rights law and unfair

competition law (“UCL”). Id. at 910-11. If successful, the suit doubtless would

have furthered the policy goals embodied in those statutes, such as the UCL’s goal

of “protect[ing] . . . consumers.” Kasky v. Nike, Inc., 27 Cal. 4th 939, 949 (2002).

It nonetheless did not satisfy § 425.17(b)(2): While “recipients of the letters rank in

the thousands, there [was] no public interest principle being vindicated by th[e]

action.” Blanchard, 123 Cal. App. 4th at 914-15 (emphasis added). The action

asserted individuals’ personal interests to be free of an aggressive demand letter. Id.

at 914-15 (emphasis added). There is “no enforcement of [a] public right where the

plaintiffs enforced solely their own interests.” Id. at 915 (emphasis added).



                                          14
       Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 21 of 28




       So too here. The “State’s interest in permitting a ‘right of publicity’ is in

protecting the proprietary interest of [an] individual.” Zacchini v. Scripps-Howard

Broad. Co., 433 U.S. 562, 573 (1977) (emphasis added); Guglielmi v. Spelling-

Goldberg Productions, 25 Cal. 3d 860, 871 (1979) (right of publicity protects

individuals’ “proprietary interests”) (Bird, C.J., concurring).2 That such a personal,

proprietary interest is held by many individuals does not transform it into a public

interest.

       2.    Worse, plaintiff ’s suit asserts personal, proprietary interests at the

expense of an acknowledged public interest. Courts have repeatedly recognized that

the private interests underlying the right of publicity encroach on the public’s free-

speech interest in the dissemination of information. Right-of-publicity claims pit

“proprietary interests” against “the value of free expression,” Guglielmi, 25 Cal. 3d

at 871 (Bird, C.J., concurring), and present a “tension” between individual interests

and “the First Amendment’s goal of fostering a marketplace of ideas,” Kirby v. Sega

of Am., Inc., 144 Cal. App. 4th 47, 58 (2006). Here, plaintiff ’s right-of-publicity

claims attack a truthful “director[y]” of “professionals” that is “entitled to the full

protection of the First Amendment.” Dex, 696 F.3d at 954.




2
 Chief Justice Bird’s opinion was supported by a majority of the court.
Opening.Br.59 n.18.

                                          15
      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 22 of 28




      Lawsuits that assert individuals’ interests at the expense of a public interest

fail to satisfy § 425.17(b). In Holbrook v. City of Santa Monica, 144 Cal. App. 4th

1242 (2006), city council members sought to compel an 11 p.m. end to council

meetings, arguing that late-running meetings harmed council employees and forced

citizens to address the council at inconvenient hours. Id. at 1245-46, 1250. The

court held the suit did not satisfy § 425.17(b)(2): If successful, it would vindicate the

plaintiffs’ personal interests in shorter meetings at the expense of abridging “the

opportunity for members of the public to address the City Council.” Id. at 1250.

Likewise here, plaintiff seeks to vindicate her personal interests at the expense of

the public’s interest in an accurate professional directory.        Opening.Br.38-51;

Reply.15-22, 25-30.

II.   ALTERNATIVELY, THE COURT SHOULD CERTIFY THE QUESTION OF
      § 425.17(b)’S CONSTRUCTION TO THE CALIFORNIA SUPREME COURT

      The panel concluded that “no California Supreme Court case answers the

precise question here.” Op.13-17. Insofar as Sierra Club does not provide the

answer, this Court should certify the question to the California Supreme Court. See

p. 2, supra. If § 425.17(b)’s narrow exception to California’s broad anti-SLAPP

protections is to be given the breadth it was given here, that should come from the

definitive expositor of California law.

      This Court recognizes an “ ‘obligation to consider whether novel state-law

questions should be certified.’ ” Kremen v. Cohen, 325 F.3d 1035, 1038 (9th Cir.


                                           16
      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 23 of 28




2003). Certification promotes “deference to the state court on significant state law

matters,” respects “state sovereignty,” and “fosters values of federalism and

comity.” Id. at 1037 & n.1.

      This Court thus has repeatedly granted rehearing to certify state-law questions

to state supreme courts. E.g., Sullivan v. Oracle Corp., 557 F.3d 979, 984-85 (9th

Cir. 2009); Vazquez v. Jan-Pro Franchising Int’l, Inc., 939 F.3d 1045, 1048 (9th Cir.

2019); Torres v. Goodyear Tire & Rubber Co., 867 F.2d 1234, 1235 (9th Cir. 1989);

Beeman v. Anthem Prescription Mgmt., LLC, 689 F.3d 1002, 1005 (9th Cir. 2012)

(en banc); Murray v. BEJ Mins., LLC, 924 F.3d 1070, 1071-72 (9th Cir. 2019) (en

banc); Lombardo v. Warner, 391 F.3d 1008, 1009 (9th Cir. 2004) (en banc). It has

done so even where the parties never sought—or jointly opposed—certification. See

Parents Involved in Cmty. Schs. v. Seattle Sch. Dist., No. 1, 294 F.3d 1085, 1086

(9th Cir. 2002).

      California Rule of Court 8.548(a) allows certification where there is “no

controlling precedent” and “[t]he decision could determine the outcome of a matter

pending in the requesting court.” Both requirements are satisfied. The panel found

“no California Supreme Court case answers the precise question here.” Op.13-17;

see French Laundry Partners, LP v. Hartford Fire Ins. Co., 58 F.4th 1305, 1306-07

(9th Cir. 2023) (no controlling precedent where California Supreme Court had not

decided issue, although other California courts had “opinions providing some



                                         17
      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 24 of 28




guidance”). And the issue not only “could,” but did, determine the outcome of the

appeal in this Court. Op.18.3

      In weighing certification, this Court may consider “(1) whether the question

presents ‘important public policy ramifications’ yet unresolved by the state court;

(2) whether the issue is new, substantial, and of broad application; (3) the state

court’s caseload; and (4) ‘the spirit of comity and federalism.’ ” Murray, 924 F.3d

at 1072. Each factor favors certification.

      Interpretation of California’s anti-SLAPP statute has important public-policy

ramifications. California enacted the law to protect “the constitutional right[ ] of

freedom of speech,” § 425.16(a), a right “essential in a democratic system of

government,” Guglielmi, 25 Cal. 3d at 866 (Bird, C.J., concurring). California

underscores the law’s importance by commanding that its protections be construed

“broadly” and its exceptions “narrowly.” Sierra Club, 45 Cal. 4th at 315-16.

      Whether § 425.17(b) applies to class actions seeking individualized relief or

asserting private interests is “new, substantial, and of broad application.” Murray,

924 F.3d at 1072. The panel found the question is unsettled. Op.13-17. And if

§ 425.17(b) applies in such circumstances, nearly all class actions will be exempt



3
  While a different construction would lead to further proceedings in this Court, that
frequently occurs after the California Supreme Court answers a certified question.
See Ward v. United Airlines, Inc., 986 F.3d 1234, 1239 (9th Cir. 2021); Frlekin v.
Apple Inc., 979 F.3d 639, 643 (9th Cir. 2020).

                                         18
      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 25 of 28




from the anti-SLAPP law—contradicting the legislature’s admonition that

§ 425.17(b) does not apply to all class actions. Blanchard, 123 Cal. App. 4th 913-

14. And the issue has growing importance given the multitude of class-action law-

suits asserting right-of-publicity or privacy claims against defendants that compile

factual information. Resp.Br.25 n.8 (identifying 14 similar suits).

      It “is not [this Court’s] role to pass advance judgment on [the California

Supreme] Court’s priorities” in managing its docket. Kremen, 325 F.3d at 1038.

Insofar as caseload is relevant, filings in that court have fallen about 30% in the past

decade. Judicial Council of California, 2023 Court Statistics Report 23 (2023),

https://www.courts.ca.gov/documents/2023-Court-Statistics-Report.pdf.         There is

no reason to think docket pressures would prevent the California Supreme Court

from answering the question here.

      Finally, “ ‘[c]omity and federalism counsel that the California Supreme Court,

rather than this [C]ourt, should answer’ ” the “importan[t]” and “unsettled” question

of California law here. Vazquez, 939 F.3d at 1049. The panel lacked the benefit of

either a reasoned district-court decision (that court did not address § 425.17(b)) or

full briefing (plaintiff addressed § 425.17(b) in only cursory fashion). The panel’s

resolution of the issue, moreover, will govern every California-law class action that

reaches federal courts in this Circuit—a substantial number given expansive federal

jurisdiction over class actions. See 28 U.S.C. § 1332(d); ER-154 (¶ 20). Given the



                                          19
      Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 26 of 28




question’s profound impact on California law and policy, California’s Supreme

Court should be given an opportunity to answer it.

                                 CONCLUSION

      Rehearing, or certification to the California Supreme Court, is warranted.




                                        20
Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 27 of 28




November 3, 2023                         Respectfully submitted,


                                         s/ Jeffrey A. Lamken
Shon Morgan                              Jeffrey A. Lamken
  Counsel of Record                      Lucas M. Walker
Daniel C. Posner                         Lauren M. Weinstein
John W. Baumann                          Jennifer E. Fischell
QUINN EMANUEL URQUHART &                 MOLOLAMKEN LLP
  SULLIVAN, LLP                          The Watergate, Suite 500
865 S. Figueroa Street, 10th Floor       600 New Hampshire Avenue, NW
Los Angeles, CA 90017                    Washington, D.C. 20037
(213) 443-3000 (telephone)               (202) 556-2000 (telephone)
shonmorgan@quinnemanuel.com              (202) 556-2001 (facsimile)

Cristina Henriquez                       Eugene A. Sokoloff
QUINN EMANUEL URQUHART &                 Jordan A. Rice
  SULLIVAN, LLP                          Kenneth E. Notter III
555 Twin Dolphin Drive, 5th Floor        MOLOLAMKEN LLP
Redwood Shores, CA 94065                 300 N. LaSalle Street, Suite 5350
(650) 801-5000 (telephone)               Chicago, IL 60654
                                         (312) 450-6700 (telephone)
                                         (312) 450-6701 (facsimile)

                                         Alexandra C. Eynon
                                         MOLOLAMKEN LLP
                                         430 Park Avenue
                                         New York, NY 10022
                                         (212) 607-8160 (telephone)
                                         (212) 607-8161 (facsimile)



               Counsel for ZoomInfo Technologies Inc.
       Case: 22-35305, 11/03/2023, ID: 12819745, DktEntry: 75-1, Page 28 of 28




                 UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT
  Form 11. Certificate of Compliance for Petitions for Rehearing/Responses
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form11instructions.pdf

9th Cir. Case Number(s)              22-35305


       I am the attorney or self-represented party.

       I certify that pursuant to Circuit Rule 35-4 or 40-1, the attached petition for

panel rehearing/petition for rehearing en banc/response to petition is (select one):


   Prepared in a format, typeface, and type style that complies with Fed. R. App.
   P. 32(a)(4)-(6) and contains the following number of words: 4,199                                        .
   (Petitions and responses must not exceed 4,200 words)

OR

   In compliance with Fed. R. App. P. 32(a)(4)-(6) and does not exceed 15 pages.


Signature      s/ Jeffrey A. Lamken                                    Date Nov 3, 2023
(use “s/[typed name]” to sign electronically-filed documents)




                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 11                                                                                        Rev. 12/01/2021
